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16
                           UNITED STATES DISTRICT COURT
17
                          NORTHERN DISTRICT OF CALIFORNIA
18
                                  OAKLAND DIVISION
19

20
     IN RE:                                   MISC. CASE NO.: 16-mc-80206-PJH
21   PETITION OF JENNIFER GRANICK AND
     RIANA PFEFFERKORN TO UNSEAL              STIPULATION AND [PROPOSED]
22   TECHNICAL-ASSISTANCE ORDERS AND          ORDER EXTENDING TIME TO FILE
     MATERIALS                                OBJECTIONS TO MAGISTRATE
23                                            JUDGE’S REPORT AND
                                              RECOMMENDATION
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 1          Petitioners Jennifer Granick and Riana Pfefferkorn and interested party the United States

 2   Attorney’s Office for the Northern District of California hereby stipulate pursuant to Civil Local

 3   Rules 6-1(b), 6-2, and 7-12 to a Court order granting an extension of time to file objections to

 4   Magistrate Judge Kandis A. Westmore’s December 18, 2018 Report and Recommendation to

 5   Deny Petition. This Stipulation is based on the Declaration of Jennifer S. Granick filed herewith.

 6   A Proposed Order granting the stipulated extension of time is attached below.

 7                              RELEVANT PROCEDURAL HISTORY
 8          On September 28, 2016, Petitioners Jennifer Granick and Riana Pfefferkorn filed a

 9   petition to unseal technical assistance orders and materials, including all applications, motions,

10   opposition briefs, orders, and/or warrants filed under the Wiretap Act, the Stored

11   Communications Act, the Pen Register Act, and/or the All Writs Act. (Petition at 1, Dkt. No. 1.)

12   On December 18, 2018, Magistrate Judge Westmore issued a Report and Recommendation to

13   deny the petition. (Dkt. No. 58.) In addition, she ordered the matter transferred to Your Honor,

14   Chief Judge Hamilton. (Dkt. No. 59.)

15                                             ARGUMENT
16          All interested parties must file any objections to the report and recommendation with this
17   Court within fourteen days of service. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); Civil L.R.
18   72-3. Failure to file objections within the specified time may waive the right to appeal the district
19   court’s order. IEW Local 595 Trust Funds v. ACS Controls Corp., No. C-10-5568-EDL, 2011
20   WL 1496056, at *3 (N.D. Cal. Apr. 20, 2011). The current deadline to file objections is January
21   2, 2019.
22          The winter holidays are quickly approaching. Previously scheduled vacations, family
23   trips, and office closures mean there are very few working days between now and January 2 for
24   Petitioners and government attorneys to draft and file any objections. See Declaration of Jennifer
25   S. Granick in Support of Stipulation Requesting Extension of Time to File Objections to
26   Magistrate’s Report and Recommendation, ¶5. Because there has been only one previous time
27   modification of a filing deadline in this case (Dkt. No. 14), and because the requested time
28
                                                       1
       STIPULATION & [PROPOSED] ORDER EXTENDING TIME TO FILE OBJECTIONS TO MAG. J.’S R&R
                                 MISC. CASE NO. 16-MC-80206-PJH
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 1   modification would not affect the schedule for this case, we respectfully request that this Court

 2   extend the time to file objections to January 16, 2019.

 3

 4                                                Respectfully submitted,

 5   Dated: December 20, 2018                          /s/ Jennifer Stisa Granick
                                                  JENNIFER STISA GRANICK (SBN 168423)
 6                                                RIANA PFEFFERKORN (SBN 266817)
 7                                                Pro Se Petitioners
 8

 9   Dated: December 20, 2018                         /s/ Kyle Waldinger
                                                  KYLE WALDINGER (SBN 298752)
10

11                                                Attorney for Interested Party United States of
                                                  America
12

13                                        [PROPOSED] ORDER

14          The deadline to file objections to Magistrate Judge Westmore’s Report and
15   Recommendation in this matter shall be extended to January 16, 2019.
16   PURSUANT TO STIPULATION, IT IS SO ORDERED.
17

18   Dated: ____________, 2018
                                                  HONORABLE PHYLLIS J. HAMILTON
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                                                  CHIEF UNITED STATES DISTRICT JUDGE
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       STIPULATION & [PROPOSED] ORDER EXTENDING TIME TO FILE OBJECTIONS TO MAG. J.’S R&R
                                 MISC. CASE NO. 16-MC-80206-PJH
